               Case 2:05-cr-00106-GEB Document 79 Filed 03/28/07 Page 1 of 3


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     Telephone: (916) 443-2213
4
5    Attorney for Defendant Leonard Williams
6
7                           IN THE UNITED STATES DISTRICT COURT
8                              EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,               ) NO. CR-S-05-106 GEB
                                             )
11                      Plaintiff,           ) STIPULATION AND [PROPOSED]
                                             ) ORDER CONTINUING STATUS
12        v.                                 ) CONFERENCE AND EXCLUDING
                                             ) TIME
13   LEONARD WILLIAMS,                       )
                                             ) Date: Friday, April 13, 2007
14                      Defendant.           ) Time: 9:00 a.m.
                                             ) Judge: Garland E. Burrell, Jr.
15   _______________________________         )
16
17                         BACKGROUND AND DECLARATION OF COUNSEL
18
19                At the last hearing, this status conference was scheduled to
20   be heard on Friday, March 30, 2007 at 9:00 a.m.            The status of this
21   case is that we are close to a plea agreement but are in the process of
22   possibly working out a stipulation regarding evidentiary guideline
23   matters.     It is taking time but we hope to have an agreement in the
24   hands of the Court before April 13, 2007.
25                For the convenience of the Court and all parties we are
26   requesting this continuance by Stipulation and Order without the
27   necessity of appearance.
28
            Case 2:05-cr-00106-GEB Document 79 Filed 03/28/07 Page 2 of 3


1               The balance of the court appearances are requested to be
2    independent from the other named defendants because of 5K
3    considerations.
4               I declare under penalty of perjury that the foregoing is true
5    and correct.   Signed at Sacramento, California on March 27, 2007.
6
                                             /s/ Robert M. Holley
7                                            ______________________________
                                             Robert M. Holley, Esq.
8                                            Counsel for Mr. Williams
9
                                       STIPULATION
10
          It is hereby stipulated by and between the defendant, Leonard
11
     Williams, through his counsel, Robert M. Holley, Esq., and the United
12
     States, through its counsel, Assistant United States Attorney Ken
13
     Melikian, Esq., that the status conference presently scheduled for
14
     Friday, March 30, 2007 be continued without appearance, for two weeks
15
     to Friday, April 13, 2007 at 9:00 a.m.
16
          The parties further stipulate that time included in this
17
     continuance be excluded pursuant to Speedy Trial Act, 18 U.S.C. Section
18
     3161(h)(8)(B)(ii)(Local Codes T2 and T4) until April 13, 2007 due to
19
     complexity of the case and in the interest of justice to allow the
20
     defense to consider and negotiate an appropriate plea bargain.
21
          Dated: January 17, 2007
22
                                                  /s/ Robert M. Holley
23                                                ___________________________
                                                  Mr. Robert M. Holley, Esq.
24                                                Counsel for Mr. Williams
25
26                                                /s/ Robert M. Holley for
                                                  ____________________________
27                                                Mr. Ken Melikian, Esq.
                                                  Assistant U.S. Attorney
28                                                Per telephonic authority


                                             2
              Case 2:05-cr-00106-GEB Document 79 Filed 03/28/07 Page 3 of 3


1
                                      [PROPOSED] ORDER
2
3         In the Case of U.S. v. Leonard Williams, Cr-S-05-106 GEB, GOOD
4    CAUSE APPEARING and upon the stipulation of the parties,
5         IT IS HEREBY ORDERED THAT the status conference presently set for
6    Friday, March 30, 2007 at 9:00 a.m. be continued to Friday, April 13,
7    2007 at 9:00 a.m.
8         It is further ordered that time be excluded through April 13, 2007
9    pursuant to the Speedy Trial Act exclusion sections set forth in the
10   stipulation above.
11
12   Dated:    March 27, 2007

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14                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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